                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


CHRIS SEVIER                                  )
                                              )
v.                                            ) NO. 3-13-0607
                                              ) JUDGE CAMPBELL
APPLE, INC.                                   )



                                              ORDER


         Pending before the Court are a Report and Recommendation of the Magistrate Judge (Docket

No. 232); Objections, in the form of a Motion to Reconsider, filed by the Plaintiff (Docket No. 241);

and a Response (Docket No.247), filed by the Defendant.

         Pursuant to 28 U.S.C. § 636(b)(1), Fed. R. Civ. P. 72(b)(3) and Local Rule 72.03(b)(3), the

Court has reviewed de novo the Report and Recommendation, the Objections, and the file. The

Objections of the Plaintiff are overruled, and the Report and Recommendation is adopted and

approved.

         Accordingly, Defendant’s Motion to Dismiss, included in Defendant’s Response to the

Court’s Order (Docket No. 219), is GRANTED, and this action is DISMISSED with prejudice.

Any other pending Motions are DENIED as moot, and the Clerk is directed to close the file. This

Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

         IT IS SO ORDERED.


                                                      ___________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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